98 F.3d 1347
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Steven Emile HOLLOWAY, Defendant-Appellant.
    No. 94-50183.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 7, 1996.*Decided Oct. 10, 1996.
    
      Before:  BEEZER, KOZINSKI, and KLEINFELD, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Steven Emile Holloway appeals the 78-month sentence imposed following his plea of guilty to armed bank robbery in violation of 18 U.S.C. § 2113(a), (d).  Pursuant to  Anders v. California, 386 U.S. 738 (1967), Holloway's counsel filed a brief stating that he finds no meritorious issues for review, and a motion to withdraw as counsel of record.  Our independent review of the record pursuant to  Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.  Accordingly, the motion of counsel to withdraw is GRANTED and the district court's judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    